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19                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
20                                   OAKLAND DIVISION

21
     PATRICK CALHOUN, et al., on behalf of             Case No. 4:20-cv-5146-YGR-SVK
22   themselves and all others similarly situated,
            Plaintiffs,                              JOINT STIPULATION AND [PROPOSED]
23                                                   ORDER EXTENDING TIME FOR
            v.                                       GOOGLE TO SUBMIT DECLARATION IN
24
                                                     SUPPORT OF PLAINTIFFS’ MOTION TO
25   GOOGLE LLC,                                     CONSIDER WHETHER ANOTHER
         Defendant.                                  PARTY’S MATERIAL SHOULD BE
26                                                   SEALED (DKT. 669)

27                                                   Judge:   Honorable Susan van Keulen
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                                                                    Case No. 4:20-cv-5146-YGR-SVK
                 JOINT STIPULATION AND [PROPOSED] ORDER EXTENDING TIME FOR GOOGLE TO SUBMIT
                                DECLARATION IN SUPPORT OF PLAINTIFFS’ MOTION TO SEAL (DKT. 669)
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 1          Pursuant to Civil Local Rule 6-2, this joint stipulation is entered into between Plaintiffs and
 2 Google LLC (“Google”), collectively referred to as the “Parties.”

 3          WHEREAS, on May 24, 2022, Plaintiffs filed their Administrative Motion to Consider
 4 Whether Another Party’s Material Should Be Sealed (Dkt. 669);

 5          WHEREAS, on May 24, 2022, Google received unredacted copies of Plaintiff’s unredacted
 6 documents cited in Dkt. 670 under seal and submitted with Dkt. 669;

 7          WHEREAS, pursuant to Civil Local Rule 79-5(e), the current deadline for Google, as the
 8 Designating Party, to establish that such designated material is sealable, is by Tuesday, May 31,

 9 2022;
10          WHEREAS, the Parties agree that an extension of time of 7 days will provide Google with
11 sufficient time to submit its declaration in support of its designated materials in the filings (Dkts.

12 669, 670);

13          NOW THEREFORE, the Parties stipulate to extend the deadline by which Google shall
14 submit a Declaration in support of Plaintiffs’ Motion to Consider Whether Another Party’s Material

15 Should Be Sealed (Dkt. 669) to June 7, 2022.

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                                                  1                Case No. 4:20-cv-5146-YGR-SVK
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 1 DATED: May 31, 2022
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26
                                                  Attorneys for Defendant Google LLC
27

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                                                  2                 Case No. 4:20-cv-5146-YGR-SVK
                 JOINT STIPULATION AND [PROPOSED] ORDER EXTENDING TIME FOR GOOGLE TO SUBMIT
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 1                 ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(i)(3)
 2          I am the ECF user whose ID and password are being used to file this Joint Stipulation and

 3 [Proposed] Order Extending Time for Google to Submit Declaration in Support of Plaintiffs’ Motion

 4 to Consider Whether Another Party’s Material Should Be Sealed (Dkt. 669). Pursuant to Civil L.R.

 5 5-1(i)(3), I hereby attest that each of the signatories identified above has concurred in the filing of

 6 this document.

 7

 8 Dated: May 31, 2022

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10                                                /s/ Andrew H. Schapiro
                                                     Andrew H. Schapiro
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                                                  Counsel on behalf of Google
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 1                                      [PROPOSED] ORDER

 2         Pursuant to stipulation of the Parties, the Court hereby ORDERS:

 3         The deadline for Google to Submit Declaration in Support of Plaintiffs’ Motion to Consider

 4 Whether Another Party’s Material Should Be Sealed (Dkt. 669) shall be extended to June 7, 2022.

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 7         IT IS SO ORDERED.
                 June 1
 8 DATED: _______________, 2022                        _______________________________

 9                                                     Hon. Susan van Keulen
                                                       United States Magistrate Judge
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                                                4                 Case No. 4:20-cv-5146-YGR-SVK
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